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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

VYSE GELATIN COMPANY nka VvGC Inc.                     )
                                                       3
               Plaintiff,                              3
                                                       3
        v.                                             )      Case No. 17-cv-02937
                                                       3      Judge Robert Dow, Jr.
JT NATURALS USA EEC & JEFFREY HICKS)
                                                       3
               Defendants                              3
 NOTICE OF MOTION FOR LEAVE TO FILE AMENDED MOTION FOR SUMMARY
       JUDGMENT AND AMENDED RULE 56 AND ER 56.1 STATEMENT


To: Defendants JT NATURALS USA LLC and JEFFREY HICK
c/o Their Attorney
Ankur V Shah. Esq.
Shah Legal Representation
333 South Wabash Ave, Suite 2700
Chicago, IL 60604
Email:         shIegjrecom

Please Take Notice that on March 20, 2018, at 9:15 AM, or as soon thereafter as counsel may be
heard, I shall appear before the Honorable Judge Robert Dow, Jr. in room 1919 of the United
States District Court for the Northern District of Illinois, Eastern Divisions, 219 5. Dearborn St,
Chicago IL, and present the PLAINTIFF’S MOTION TO FILE INSTANTER THE AMENDED
VYSE GELATIN COMPANY nka VyGC Inc. COMBINED MOTION FOR SUMMARY
JUDGMENT AND BRIEF IN SUPPORTOF MOTION FOR SUMMARY JUDGMENT
AGAINST JT NATURALS USA LLC AND JEFFREY HICKS.


                                                    By:    Is/Mark E Furiane
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                                   Certificate of Service

The undersigned attorney certifies that on March 14. 2018 he e-filed this document through
the Court’s CMIECF system which will cause copy of the document to be delivered
electronically to the counsel of record for defendants shown below.

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